

Jackson v Romero (2024 NY Slip Op 51586(U))




[*1]


Jackson v Romero


2024 NY Slip Op 51586(U)


Decided on November 20, 2024


Supreme Court, Queens County


Dunn, J.


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on November 20, 2024
Supreme Court, Queens County

Roel U. Jackson, Plaintiff,

againstKevin A. Ventura Romero and DAVID GUTIERREZ, Defendants.

Index No. 725073/2023

Greenstein &amp; Milbauer, LLP. for Plaintiff
Steven A. Levy. for Defendants 


Scott Dunn, J.

The e-filed papers bearing NYSCEF Doc. Nos. 14-17 were read on the motion of the plaintiff ROEL U. JACKSON ("Plaintiff"), for an Order, to amend the caption to add additional party defendants. 
The Plaintiff commenced this action for alleged injuries from a motor vehicle accident on May 13, 2023.
Plaintiff filed the instant motion pursuant to CPLR 3025(b) to amend the caption to add additional party defendants. Since the relief requested is more than mere amendment, as Plaintiff seeks to add new defendants, additional CPLR statutes are implicated. Nevertheless, as no prejudice is perceived from the mere recitation of CPLR 3025(b), Plaintiff's motion will be considered on the merits. Further, the Court notes that such a motion may be entertained even when the proposed new parties are not served with the motion papers (see Abraham v Torati, 219 AD3d 1275, 1285 [2d Dept 2023]; Levykh v Laura, 274 AD2d 418 [2d Dept 2000]).
Amendment of a pleading to add a party defendant is governed by CPLR 1003 and CPLR [*2]3025 (see Jeffer v Jeffer, 28 Misc 3d 1238(A) [Sup Ct, Kings County 2010]). "Motions for leave to amend pleadings should be freely granted, absent prejudice or surprise directly resulting from the delay in seeking leave, unless the proposed amendment is palpably insufficient or patently devoid of merit" (Tyson v Tower Ins. Co. of New York, 68 AD3d 977, 979 [2d Dept 2009]).
Plaintiff's motion is unopposed by the current defendants and there is no perceived prejudice at this stage in the litigation to adding the proposed parties. Further, the proposed amendment does not appear to be palpably insufficient or patently devoid of merit.
Accordingly, Plaintiff's motion is granted, and it is hereby:
ORDERED, that this action shall bear the following caption:
ROEL U. JACKSON,
Plaintiff, Index No.: 725073/2023
against
KEVIN A. VENTURA ROMERO, DAVID
GUTIERREZ, M.A. RODRIGUEZ and
HERRA D. DOUGLASS ALFONSO,
Defendants.
ORDERED, that Plaintiff shall serve the newly added defendants with the supplemental summons and amended complaint, M.A. RODRIGUEZ DEPAZ and HERRA D. DOUGLASS ALFONSO, pursuant to CPLR 308; and it is further,
ORDERED, that newly added defendants, M.A. RODRIGUEZ DEPAZ and HERRA D. DOUGLASS ALFONSO, shall thereafter appear in accordance with CPLR 320.
This constitutes the Decision and Order of the Court.
Dated: November 20, 2024
Long Island City, New York
SCOTT DUNN, J.S.C.








